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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

v.                                                     CRIMINAL NO.: 3:19-cr-065-DMB-RP

LATROY DANIELS, et al.                                                          DEFENDANTS

                                              ORDER

       This matter is before the court on the Government’s Motion for Clarification Regarding

Disclosure of Discovery Materials. Docket 239. The government states that plea agreements

and plea transcripts that are publicly accessible by PACER may be classified as Rule 16

documents, Jenks statements and/or Giglio materials, and the government requests a ruling that

those materials are therefore subject to the previously-entered protective order (Docket 64)

which prohibits the defendants’ attorneys from allowing their clients to retain copies of protected

materials. The defendant Gregory Moffett has filed a response in opposition to the government’s

motion, and the defendants Michael Willie and Latroy Daniels have joined in Moffett’s response.

The court finds the government’s motion is not well taken and should be denied.

       The protective order governs the handling of certain materials to be disclosed to the

defendants by the government, not the handling of materials the defendants may independently

obtain from the court’s public records. The protective order governs the handling of

“Discoverable Material” and “3500 Material,” as those terms are defined in the protective order,

that are “disclosed in this case.” It is not the court’s intention that this would include materials

obtained by the defendants from the court’s public records, even if such information might also

be disclosed to the defendants at some point by the government. Such an interpretation would

result in the defendants, who are presumed innocent, being afforded less access to information

about their own case than that afforded to the general public. This would contravene the
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fundamental principles of fairness and due process in criminal proceedings.

       The government states there is a reasonable basis to believe that the defendants in this

case, who are alleged high ranking members of the Gangster Disciples, will use “paperwork”

documenting the cooperation of co-defendants to cause those individuals to be threatened,

harmed or killed. The government correctly notes that this consideration may constitute “good

cause” for the court to “deny, restrict, or defer discovery or inspection, or grant other appropriate

relief” under Federal Rule of Criminal Procedure 16(d). Indeed, the potential for harm to

cooperators is a basis for the subject protective order in this case. However, neither Rule 16 nor

any of the other authorities cited by the government addresses restricting a defendant’s right of

access to the court’s public records about that defendant’s case.

       The court must balance the government’s interest – indeed the public’s interest – in

protecting cooperating witnesses from potential harm, on one hand, against the defendants’ right

of access to information about their case, on the other hand. The plea agreements that are

accessible in the court’s public records contain no information regarding whether a defendant has

cooperated or may in the future cooperate with the investigation or prosecution of others. As for

the plea transcripts, to the extent information in them may be used to identify cooperating

witnesses and thereby expose them to potential harm, there is a remedy available. The parties

are given notice and the opportunity to request redaction of such information before the

transcripts are made available to the public via PACER. If this remedy is inadequate to protect

cooperating witnesses from potential harm, then prohibiting a defendant’s attorney from

providing him with copies of the plea transcripts while leaving the general public’s right of

access unrestricted would seem to be an ineffective solution, given that the defendants’

associates who may pose a potential threat to cooperating witnesses would have means of
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obtaining the transcripts nonetheless. The fact that the materials at issue in this instance are

available to the general public in the court’s public records tips the scale in favor of the

defendants’ right of access.

       For the above reasons, the Government’s Motion for Clarification Regarding Disclosure

of Discovery Materials is DENIED.

       SO ORDERED, this the 19th day of February, 2020.



                                                       /s/ Roy Percy
                                                       UNITED STATES MAGISTRATE JUDGE
